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 13
 14                       UNITED STATES DISTRICT COURT
 15
                        CENTRAL DISTRICT OF CALIFORNIA
 16
 17   JOHN CURTIS NEWMAN, III,                )   Case No. 2:20-cv-3173
                                              )
 18                                           )   PLAINTIFF’S COMPLAINT FOR
 19                Plaintiff,                 )   DAMAGES AND VIOLATIONS OF
                                              )   CIVIL RIGHTS
 20
      v.                                      )
 21                                           )
 22   CITY OF OXNARD; OFFICER                 )
      ROBERT CASTON; OFFICER                  )
 23   JARED SCHMELTER; OFFICER                )
 24   RANDALL GONZALES;                       )
      SERGEANT BRETT SMITH; and               )
 25
      DOES 1-10,                              )
 26              Defendants.                  )   JURY TRIAL DEMANDED
 27
 28
                                              1
                      PLAINTIFF’S COMPLAINT FOR DAMAGES AND
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  1                                    INTRODUCTION
  2
            1. This action is filed by John Curtis Newman, III (“Plaintiff”), arising from
  3
  4   events that occurred on April 7, 2018 when Officer Robert Caston (“Caston”), an
  5
      Oxnard Police Department (“OPD”) Officer, without reasonable basis to do so,
  6
  7   rammed his police vehicle into Plaintiff’s motorcycle using deadly force to

  8   immobilize Plaintiff’s vehicle, causing Plaintiff to fall off his motorcycle and
  9
      causing Plaintiff to sustain several physical injuries including, but not limited to, a
 10
 11   broken arm, neck, back, head, and emotional injuries. Officer Jared Schmelter, an
 12
      OPD Officer (“Schmelter”); and Officer Randall Gonzales, an OPD Officer
 13
 14   (“Gonzales”) then used further excessive force against Plaintiff when Caston and
 15   Schmelter deployed a K9 police service dog on Mr. Newman in order to bite Mr.
 16
      Newman while he lay bleeding and injured in the road with a broken arm and
 17
 18   other severe injuries to his person. Gonzales then unreasonably used a hobble
 19
      restraint on Plaintiff and twisted his fractured arm in the process of applying
 20
 21   handcuffs. Sergeant Brett Smith was personally present throughout the use of
 22
      excessive force against Plaintiff. City of Oxnard’s policies, practices and customs
 23
 24   as well as its failure to train, supervise and discipline officers violated Plaintiff’s

 25   rights under the Fourth and Fourteenth Amendments to the United States
 26
      Constitution as made actionable against Defendants pursuant to 42 U.S.C. §1983.
 27
 28
                                                  2
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  1                             JURISDICTION AND VENUE
  2
            2. This action is brought by Plaintiff John Curtis Newman, III pursuant to
  3
  4   42 U.S.C. Section 1983.
  5
            3. This Court has jurisdiction under 28 U.S.C. sections 1331 and 1343.
  6
  7         4. The amount in controversy herein, excluding interest and costs, exceeds

  8   the minimum jurisdictional limit of this Court.
  9
            5. The acts and omissions complained of occurred on April 7, 2018 in the
 10
 11   City of Oxnard, California, within the Central District of California. Therefore,
 12
      venue lies in this District pursuant to 28 U.S.C. section 1391.
 13
 14                                        PARTIES
 15         6. Plaintiff John Curtis Newman, III (“Plaintiff”) is a resident of the State of
 16
      California and resided within the jurisdiction of the State of California at all times
 17
 18   herein alleged.
 19
            7. Defendant City of Oxnard (“City”) is, and at all times herein alleged was,
 20
 21   a municipal corporation or political subdivision organized and existing under the
 22
      laws of the State of California. The Oxnard Police Department is, and at all times
 23
 24   herein alleged was, an agency of the City of Oxnard.

 25         8. At all times relevant herein, Defendant Officer Robert Caston (“Caston”)
 26
      was employed by, and working on behalf of the Oxnard Police Department
 27
 28   (“OPD”), and resided within the State of California. He was a City of Oxnard
                                                 3
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  1   police officer who actively participated in the arrest of Plaintiff, and acted under
  2
      color of law and within the scope of his agency with City of Oxnard.
  3
  4         9. At all times relevant herein, Defendant Officer Jared Schmelter
  5
      (“Schmelter”) was employed by, and working on behalf of the OPD, and resided
  6
  7   within the State of California. He was a City of Oxnard police officer who

  8   actively participated in the arrest of Plaintiff, and acted under color of law and
  9
      within the scope of his agency with City of Oxnard.
 10
 11         10. At all times relevant herein, Defendant Officer Randall Gonzales
 12
      (“Gonzales”) was employed by, and working on behalf of the OPD, and resided
 13
 14   within the State of California. He was a City of Oxnard police officer who
 15   actively participated in the arrest of Plaintiff, and acted under color of law and
 16
      within the scope of his agency with City of Oxnard.
 17
 18         11. Defendant Sergeant Brett Smith (“Smith”) was a Sergeant for the OPD
 19
      and at all times relevant herein, was employed by, and working on behalf of the
 20
 21   City of Oxnard, and resided within the State of California. Smith failed to
 22
      investigate and discipline the wrongful conduct of Defendants Caston, Schmelter,
 23
 24   Gonzales and Does 1 to 10 and failed to supervise and train Defendants Caston,

 25   Schmelter, Gonzales and Does 1 to 10, thereby ratifying, condoning and endorsing
 26
      their conduct while acting under color of law and within the scope of his agency
 27
 28   with City of Oxnard.
                                                 4
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  1          12. Plaintiff is ignorant of the true names and capacities of Defendants
  2
      DOES 1 – 10, inclusive, and therefore sues these defendants by fictitious names.
  3
  4   Plaintiff is informed and believes, and based thereon alleges, that each defendant
  5
      so named is responsible in some manner for the injuries and damages suffered by
  6
  7   Plaintiff and was acting under color of law at all times herein alleged. Plaintiff

  8   will amend this complaint to state the true names and capacities of Defendants
  9
      DOES 1 – 10, inclusive, when they have been ascertained.
 10
 11                              GENERAL ALLEGATIONS
 12
             13. Plaintiff is informed and believes, and thereon alleges, that at all times
 13
 14   herein mentioned, each Defendant was the agent and/or employee and/or co-
 15   conspirator or each remaining Defendant, and in doing the things hereinafter
 16
      alleged, was acting within the scope of such agency, employment and/or
 17
 18   conspiracy, and with the permission and consent of other co-Defendants.
 19
             14. The acts and omissions of all Defendants were engaged in maliciously,
 20
 21   callously, oppressively, wantonly, recklessly, and with deliberate indifference to
 22
      the rights of Plaintiff.
 23
 24                               STATEMENT OF FACTS

 25          15. Plaintiff realleges and incorporates by reference paragraphs 1-14 of this
 26
      complaint as though fully set forth herein.
 27
 28          16. On April 7, 2018 at approximately 00:21 hours, Plaintiff was operating
                                                 5
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  1   his 2006 Harley Davidson motorcycle in the City of Oxnard. He was doing so
  2
      lawfully, without posing a threat to any person, nor was he committing any
  3
  4   criminal offense or brandishing any weapon.
  5
              17. As Plaintiff was operating his vehicle, Defendants Caston, Schmelter
  6
  7   and Does 1 to 10 began a vehicle pursuit of Plaintiff’s vehicle based on the

  8   allegation that Plaintiff had switched lanes without using his turn signal.
  9
              18. Prior to the pursuit occurring, Defendant City and Smith had
 10
 11   implemented an unconstitutional policy, practice or custom requiring officers to
 12
      make arbitrary traffic stops of all individuals operating Harley Davidson
 13
 14   motorcycles whether or not the officers had reasonable suspicion to make a traffic
 15   stop.
 16
              19. At all times relevant hereto, the alleged violation of the motor vehicle
 17
 18   code for which Defendants Caston, Schmelter and Does 1 to 10 alleged they were
 19
      pursuing Plaintiff’s vehicle, constituted a minor traffic violation subject to a
 20
 21   monetary fine.
 22
              20. Throughout the short time that Defendants Caston, Schmelter and Does
 23
 24   1 to 10 were pursuing Plaintiff’s vehicle, Plaintiff was operating his vehicle at

 25   relatively slow speeds on streets that had little to no traffic.
 26
              21. Shortly after Defendants initiated the vehicle pursuit, and without any
 27
 28   reasonable basis for doing so, Defendant Caston rammed the police vehicle into
                                                  6
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  1   the Plaintiff’s motorcycle using a so-called “Pursuit Intervention Technique”
  2
      (PIT), designed to cause the operator of the vehicle to lose control of the vehicle.
  3
  4         22. At all times relevant hereto, the PIT maneuver or ramming technique
  5
      should only be used when the use of “deadly force” is required and/or justified
  6
  7   under the circumstances. According to OPD policy, a verbal warning should

  8   precede the use of deadly force. Before a PIT or ramming is used, OPD policy
  9
      requires an officer to obtain approval of a supervisor. Plaintiff alleges on
 10
 11   information and belief that no prior supervisor approval was obtained before
 12
      Defendant Caston rammed Plaintiff’s motorcycle, notwithstanding that Defendant
 13
 14   Sergeant Brett Smith was available via radio contact at all times during the pursuit
 15   for the requisite supervisor approval to occur.
 16
            23. Pursuant to OPD policy, ramming a vehicle should be done only after
 17
 18   other reasonable tactical means at the officer’s disposal have been exhausted.
 19
      OPD policy provides that ramming should be reserved only for situations where
 20
 21   there is no other reasonable alternative method to stop a fleeing vehicle. At the
 22
      time of the incident, no other reasonable alternatives were attempted or used,
 23
 24   despite their availability to Defendants.

 25         24. At all times relevant hereto, Defendant Caston did not have reason to
 26
      believe, nor was there any basis in fact for to him to use deadly force in
 27
 28   connection with his pursuit of Plaintiff’s vehicle on an alleged minor traffic
                                                  7
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  1   offense/violation.
  2
             25. Defendant Schmelter was the front-seat passenger in the vehicle driven
  3
  4   by Defendant Caston and participated and assisted Defendant Caston in the illegal
  5
      stop of Plaintiff.
  6
  7          26. When the Plaintiff’s vehicle was rammed into by Defendant Caston’s

  8   police vehicle, Plaintiff lost control of his motorcycle, causing him to crash to the
  9
      ground, resulting in severe physical injuries to Plaintiff.
 10
 11          27. As Plaintiff was laying injured, bleeding, and helpless in the road with a
 12
      broken arm and other injuries, Plaintiff posed no threat to Defendant police
 13
 14   officers and was not brandishing any weapon. His hands were gloved but visible
 15   to officers at all times.
 16
             28. Nonetheless, Defendants Caston and Schmelter immediately exited the
 17
 18   police vehicle and released the police dog “Koa” on Plaintiff, ordering Koa to
 19
      attack and bite Plaintiff. Koa then began biting Plaintiff viciously over numerous
 20
 21   parts of his body.
 22
             29. While Koa was attacking Plaintiff, at least 6 other officers responded to
 23
 24   the scene directly next to Plaintiff. One officer also had a taser pointed at Plaintiff

 25   while Koa bit Plaintiff’s body while he lay on the ground.
 26
             30. Ordering Koa to attack Plaintiff while he lay injured in the road with a
 27
 28   severely broken arm and while he posed no threat to Defendant officers was an
                                                 8
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  1   unreasonable and excessive use of force.
  2
            31. OPD policy requires specific factors to be present before a canine may
  3
  4   be used to apprehend a suspect. The policy provides that in the absence of those
  5
      specific factors, mere flight from a pursuing officer shall not serve as a basis to
  6
  7   use the canine to stop a suspect. At the time that the K-9 Koa was deployed to

  8   attack Plaintiff, Defendants had no reasonable belief that Plaintiff posed an
  9
      imminent threat of violence or serious harm to the public or officers because
 10
 11   Plaintiff was bleeding with a broken arm laying in the road incapacitated from
 12
      being struck on his motorcycle. At the time the K-9 was deployed, Plaintiff was
 13
 14   not resisting or threatening to resist arrest, nor was Plaintiff in a concealed area.
 15   Plaintiff was on the ground of an intersection within full view of all the
 16
      responding officers and screaming that his arm was broken. The deployment of
 17
 18   Koa was unreasonable, in violation of OPD policy and an unjustified use of
 19
      excessive force.
 20
 21         32. Defendants Caston and Schmelter violated the K-9 use policy in various
 22
      ways, including, but not limited to: not keeping Koa on a leash; by failing to
 23
 24   make a clearly audible warning announcing the use of the canine in the moment

 25   before Koa was let out of the police vehicle to attack Plaintiff on the ground; by
 26
      failing to allow any time to determine if the canine was even necessary before
 27
 28   deploying Koa; and by failing to advise Sergeant Brett Smith, the on-scene
                                                 9
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   1   supervisor of their decision to deploy Koa before Koa’s deployment.
   2
              33. According to Defendant Gonzales’ report, he was the officer who
   3
   4   handcuffed Plaintiff. At the time that Plaintiff was being handcuffed, his arm was
   5
       broken from being struck off his motorcycle and thrown to the ground. He was in
   6
   7   extreme pain from the broken arm and the police dog biting his back. Plaintiff

   8   was visibly bleeding at the scene. Plaintiff was complying with the responding
   9
       officers’ commands, did not demonstrate any resistance to the officers and was
  10
  11   not a threat to any of the officers. Nevertheless, Defendant Gonzales then twisted
  12
       Plaintiff’s arm roughly behind his back in order to handcuff him. Hobble
  13
  14   restraints were then applied to Plaintiff’s ankles while he lay face down on the
  15   road. Plaintiff is informed and believes and based thereon alleges that Defendant
  16
       Schmelter and Does 1 to 10 also participated in applying the handcuffs and hobble
  17
  18   restraint to Plaintiff and several unknown officers Does 1 to 10 applied the force
  19
       of their body weight on Plaintiff’s upper back/neck while he was being
  20
  21   handcuffed, hobbled and laying face down on the pavement. Throughout the
  22
       deployment of Koa, the handcuffing, hobbling and use of body weight on
  23
  24   Plaintiff, Sergeant Smith was present and witnessed the various uses of force on

  25   Plaintiff.
  26
              34.   Defendants Caston, Schmelter, Gonzales, Smith and Does 1 to 10
  27
  28   knew that Plaintiff was bleeding badly and required medical attention.
                                                10
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   1         35. Plaintiff repeatedly told Defendants at the scene that he was hit by the
   2
       police car and did not simply “fall” off his motorcycle. Plaintiff is informed and
   3
   4   believes and based thereon alleges that Defendants Caston, Schmelter, Gonzales,
   5
       Smith and Does 1 to 10 either heard or learned from other officers at the scene
   6
   7   that Plaintiff said he was hit by the police vehicle.

   8         36. The type and amount of force Defendants Caston, Schmelter, Gonzales,
   9
       Smith and Does 1 to 10 used against Plaintiff, as described above, was not
  10
  11   justified, nor lawful, under the circumstances.
  12
             37. At the time of the above-described violations, Defendants Caston,
  13
  14   Schmelter, Gonzales, Smith and Does 1 to 10 were close by and/or were aware of
  15   the conduct of others and, therefore, were in a position to stop or prevent the
  16
       tortious, unlawful and constitutionally violative conduct by each of the others, but
  17
  18   failed to do so, despite having a duty to intervene to prevent such unconstitutional
  19
       conduct.
  20
  21         38. In his capacity as Supervisor, Defendant Sergeant Smith failed to
  22
       properly supervise Defendants Caston, Schmelter, Gonzales, and Does 1 to 10 at
  23
  24   the scene of the above-described violations and failed to prevent the

  25   unconstitutional acts of said Defendants, thus rendering Defendant Smith liable
  26
       based on his own acts and/or omissions.
  27
  28         39. Defendants Caston, Schmelter, Gonzales, and Does 1 to 10 with the
                                                 11
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   1   ratification of Defendant Smith, attempted to secure criminal charges against
   2
       Plaintiff with the hope that Plaintiff would incur a criminal conviction so that they
   3
   4   could try to shield themselves from civil liability for the injuries they inflicted.
   5
              40. At all material times, the actions and omissions of Caston, Schmelter,
   6
   7   Gonzales, Smith and Does 1 to 10 were intentional, and/or wanton and /or willful,

   8   and or reckless and/ or callous, and/or malicious and/or deliberately indifferent to
   9
       Plaintiff’s rights.
  10
  11          41. On information and belief, Defendant City of Oxnard’s (“City”) police
  12
       department failed to thoroughly interview independent witnesses at the scene;
  13
  14   failed to preserve video evidence of the PIT that was collected by City’s police
  15   department officers from a nearby restaurant on the night of the incident; failed to
  16
       investigate the conduct of Defendants Caston, Schmelter, Gonzales and Does 1 to
  17
  18   10; failed to discipline Defendant Caston for using excessive and deadly force
  19
       against Plaintiff by ramming Plaintiff’s motorcycle with Defendant Caston’s
  20
  21   police vehicle and deploying the K-9 Koa; failed to discipline Defendants
  22
       Schmelter and Gonzales for their participation in the illegal seizure of Plaintiff
  23
  24   and their use of excessive force against Plaintiff during the seizure; failed to

  25   collect and preserve evidence concerning damage to Defendant Caston’s vehicle
  26
       from the ramming incident; failed to properly download and preserve event data
  27
  28   recorder evidence from Defendant Caston’s vehicle; and otherwise covered up and
                                                  12
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   1   ratified the illegal conduct of its various officers.
   2
              42. The actions of the individual Defendant officers were taken pursuant to
   3
   4   the policies, practices and customs of the OPD, including, but not limited to, the
   5
       City’s motorcycle stop policy, the use of excessive force, and the use of deadly
   6
   7   force in encounters with civilians when it is a grossly disproportionate response to

   8   a situation.
   9
              43. Despite their knowledge of these illegal policies and practices, City,
  10
  11   Smith and Does 1 to 10 have maliciously and with deliberate indifference taken
  12
       no effective steps to terminate the policies and practices; have not effectively
  13
  14   disciplined or otherwise properly supervised the officers who engage in the
  15   policies and practices; have not effectively trained Oxnard police officers with
  16
       regard to the proper constitutional and statutory limits of the exercise of their
  17
  18   authority; and have sanctioned the policies and practices through their deliberate
  19
       indifference to their detrimental effect on the constitutional rights of local
  20
  21   residents.
  22
              44. Knowing of civil rights abuses by the individual Defendant officers
  23
  24   named herein, Defendant Sergeant Brett Smith ratified the acts publicly and failed

  25   to remedy those systemic violations knowingly and with deliberate indifference.
  26
                                            DAMAGES
  27
  28          45. As a direct result of Defendants’ acts/omissions as herein before
                                                  13
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   1   described, Plaintiff suffered physical injuries for which he required medical care
   2
       and for which he may continue to require medical care in the future; Plaintiff has
   3
   4   incurred medical expenses, and may continue to incur such medical expenses for
   5
       the care and treatment of the injuries he suffered; Plaintiff has experienced pain
   6
   7   and suffering both in the past and will likely incur in the future; Plaintiff has

   8   suffered lost wages and/or loss of earning capacity both past and future; and
   9
       Plaintiff suffered emotional distress, embarrassment and humiliation, including
  10
  11   that he suffered emotional harm from the intentional infliction of emotional
  12
       distress both in the past and anticipated in the future.
  13
  14          46. As a direct result of Defendants’ conduct herein before described,
  15   Plaintiff suffered a violation of his rights under the Fourth Amendment to the
  16
       United States Constitution to be free from unreasonable seizures and/or the use of
  17
  18   unreasonable and excessive and/or deadly force and a violation of his rights under
  19
       the Fourteenth Amendment to the United States Constitution in that Defendant’s
  20
  21   conduct rose to the level of deliberate indifference and/or conscious shocking
  22
       behavior.
  23
  24          47. Plaintiff found it necessary to engage the services of counsel to

  25   vindicate his rights under the law. Plaintiff is therefore entitled to an award of all
  26
       attorneys’ fees and litigation costs incurred in pursuing this action for violation of
  27
  28   civil rights.
                                                  14
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   1                              CLAIMS FOR RELIEF
   2                               First Claim For Relief
                        Deprivation of Civil Rights - 42 U.S.C. §1983
   3        By Plaintiff Against Defendants Caston, Schmelter, Gonzales, Smith
   4                              and Does 1-10, inclusive.
   5
             48. Plaintiff realleges and incorporates by reference paragraphs 1-47 of this
   6
   7   complaint as though fully set forth herein.

   8         49. Defendants Caston, Schmelter, Gonzales, Smith and Does 1 to 10
   9
       inclusive, acting under color of state law, committed wrongful acts which
  10
  11   proximately caused Plaintiff injuries. Said wrongful acts included, among others:
  12
             a. Defendant Caston intentionally rammed Plaintiff’s motorcycle thereby
  13
  14            throwing him to the ground;
  15         b. Defendants Caston and Schmelter used excessive force on Plaintiff by
  16
                deploying Koa in violation of Oxnard PD policy when Plaintiff was
  17
  18            injured, helpless and posed no threat to any person;
  19
             c. Defendant Schmelter participated in the ramming of Plaintiff’s
  20
  21            motorcycle with the police vehicle driven by Defendant Caston;
  22
             d. Defendants Schmelter, Gonzales and Does 1 to 10 inclusive,
  23
  24            participated in handcuffing Plaintiff, wrenching his arm painfully when

  25            it was obvious his arm was broken and bleeding and while Plaintiff was
  26
                also being viciously bitten by Koa;
  27
  28         e. Defendants Schmelter, Gonzales and Does 1 to 10 inclusive, also
                                                15
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   1                participated in applying hobble restraints on Plaintiff in violation of
   2
                    Oxnard PD policy while Plaintiff was already handcuffed and injured
   3
   4                from dog bites inflicted by Koa;
   5
              f. Defendants Caston, Schmelter, Gonzales, Smith and Does 1 to 10
   6
                    inclusive, failed to intervene to prevent the use of excessive force against
   7
                    Plaintiff by each of said Defendants despite having the opportunity and
   8
                    means to do so.
   9
              50. When Plaintiff was laying on the ground after rammed by the police
  10
  11   vehicle, Plaintiff did not resist or pose a threat to the safety of Defendants Caston,

  12   Schmelter, Gonzales, Smith and Does 1 to 10.
  13
              51. Defendants, and each of them, deprived Plaintiff of his rights under the
  14
  15   United States Constitution to be free from the use of excessive force by law
  16
       enforcement, punishment without due process and unlawful stop, search and
  17
  18   seizure without reasonable suspicion, probable cause and due process.
  19          52. Each of said Defendants were integral participants in the use of
  20
       excessive force, punishment without due process, unlawful stop, search and
  21
  22   seizure without reasonable suspicion, probable cause and due process against
  23
       Plaintiff.
  24
  25          53. Defendants Caston, Schmelter, Gonzales, Smith and Does 1 to 10 failed
  26
       to intervene and to protect Plaintiff, despite witnessing the excessive force
  27
  28   employed by other Defendants and despite having the ability to intervene to halt

                                                    16
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   1   this unconstitutional conduct. Their refusal to intervene violated their
   2
       constitutional and moral duty to protect and serve the public and Plaintiff in
   3
   4   particular.
   5
             54. These acts resulted in injury to Plaintiff. By these acts, the defendants
   6
   7   violated Plaintiff’s constitutional rights to be free from the use of excessive force

   8   by law enforcement, punishment without due process of law, cruel and unusual
   9
       punishment, and all rights guaranteed under the Fourth and Fourteenth
  10
  11   Amendments.
  12
             55. Defendants’ knew that the use of excessive force in these circumstances
  13
  14   was illegal under clearly established law.
  15         56. Defendants Caston, Schmelter, Gonzales, and Does 1 to 10 used
  16
       excessive force as alleged above against Plaintiff with a purpose to cause harm
  17
  18   that is unrelated to the legitimate use of force. The force was used to make
  19
       Plaintiff suffer and to punish him.
  20
  21         57. The force used was unreasonable and performed with deliberate
  22
       indifference to the safety and welfare of Plaintiff. The ramming of Plaintiff’s
  23
  24   vehicle and subsequent deployment of the K-9 service dog Koa as well as the

  25   twisting of Plaintiff’s broken arm when handcuffing him and hobbling Plaintiff
  26
       were objectively unreasonable and no reasonable officer would have considered
  27
  28   such use of force to be justified, thereby violating Plaintiff’s Fourth Amendment
                                                 17
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   1   guarantee to be free from unreasonable seizures.
   2
              58. The conduct alleged herein violated Plaintiff’s rights alleged above
   3
   4   which has legally, proximately foreseeably and actually caused Plaintiff to suffer
   5
       physical injury, emotional distress, pain and suffering and further general and
   6
   7   special damages according to proof at the time of trial.

   8          59. The conduct alleged herein also amounts to oppression, fraud or malice
   9
       within the meaning of Civil Code Section 3294 and was performed knowingly,
  10
  11   intentionally, maliciously, amounting to despicable conduct by reason of which
  12
       Plaintiff is entitled to an award of exemplary damages against these defendants in
  13
  14   an amount according to proof at the time of trial in order to deter the defendants
  15   from engaging in similar conduct and to make an example by way of monetary
  16
       punishment. Plaintiff is entitled to attorney fees and costs of suit herein pursuant
  17
  18   to statute.
  19
                                 Second Claim For Relief
  20     Failure to Properly Train, Supervise and Discipline & Monell Liability for
  21                    Unconstitutional Policy, Practice & Custom
                                      42 U.S.C. § 1983
  22
                           Against City, Smith and Does 1 to 10.
  23
  24          60. Plaintiff realleges and incorporates by reference paragraphs 1-59 of this

  25   complaint as though fully set forth herein.
  26
              61. Defendants City, Smith and Does 1 to 10 established a practice, policy,
  27
  28   or custom which directly and proximately caused the injuries and harm suffered
                                                18
                         PLAINTIFF’S COMPLAINT FOR DAMAGES AND
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   1   by Plaintiff, as stated more fully throughout this complaint by:
   2
                a. Instituting an unconstitutional policy, practice or custom that required
   3
   4            officers to initiate traffic stops of all individuals driving Harley Davidson
   5
                motorcycles whether or not the officer had any reasonable suspicion to
   6
   7            make the stop;

   8            b. Training, instructing, encouraging, or expecting its police officers to
   9
                enforce the motorcycle stop policy in any way its officers deemed fit,
  10
  11            without regard to the constitutional rights of citizens in general or
  12
                Plaintiff in particular to be free from unreasonable seizures;
  13
  14            c. Failed to maintain adequate and proper training for police officers in
  15            the department necessary to educate the officers as to the constitutional
  16
                rights of citizens and arrestees; to prevent the consistent and systematic
  17
  18            use of excessive force by arresting officers; and to prevent the excessive
  19
                force and extra judicial punishment of potential arrestees by officers;
  20
  21            d. Failing to properly screen and review the police officers’ conduct with
  22
                respect to continued employment after an officer engages in
  23
  24            unconstitutional misconduct;

  25            e. Failing to adequately investigate, supervise and discipline offending
  26
                officers for their unconstitutional conduct, including their use of
  27
  28            excessive force against arrestees.
                                                 19
                        PLAINTIFF’S COMPLAINT FOR DAMAGES AND
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   1         62. Defendants City, Smith and Does 1 to 10 knew or should have known
   2
       of the propensities of its police officers in general, and these defendant officers in
   3
   4   particular, to use excessive force upon arrestees; and by failing to adequately train
   5
       and supervise its officers, City, Smith and Does 1 to 10 failed to adequately
   6
   7   discourage its officers form violating the constitutional rights of citizens in

   8   general and Plaintiff in particular.
   9
             63. As a result of the above described practice, policy, or custom, police
  10
  11   officers of the City of Oxnard, including Defendants Caston, Schmelter, Gonzales
  12
       and Does 1 to 10, believe that their actions would not be properly monitored by
  13
  14   supervisors and that misconduct would not be adequately investigated or
  15   sanctioned. Instead, it would be tolerated.
  16
             64. Defendant City’s practice, policy, or custom as set forth more fully
  17
  18   above, and Defendant City, Smith and Does 1 to 10’s failure to train, supervise,
  19
       discipline, investigate and screen employees were the moving force that did
  20
  21   deprive Plaintiff of his rights secured under the Constitution and laws of the
  22
       United States and 42 USC §1983.
  23
  24         65. The failure of the Defendants City, Smith and Does 1 to 10 to properly

  25   train Oxnard PD officers in the use of force against arrestees and in procedures to
  26
       avoid inflicting excessive force on arrestees was done with deliberate indifference
  27
  28   to the Constitutional rights of arrestees, including Plaintiff, and done with
                                                 20
                        PLAINTIFF’S COMPLAINT FOR DAMAGES AND
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   1   conscious disregard for the dangers of harm and injury to the Plaintiff and others
   2
       similarly situated.
   3
   4          66. Due to the acts of Defendants, the failure to properly screen and review
   5
       the police officers’ conduct and the continued employment of the defendant police
   6
   7   officers present a clear and present danger to the residents of the County of

   8   Ventura.
   9
              67. The lack of adequate screening and hiring/firing practices by the
  10
  11   Defendants evince a deliberate indifference to the rights of Plaintiff and others in
  12
       his position.
  13
  14          68. These Defendants failed to provide adequate training and supervision to
  15   police officers that hold the power, authority, insignia, equipment and arms
  16
       entrusted to them. Defendants failed to promulgate and enforce adequate policies
  17
  18   and procedures related to alternatives to the use of deadly force.
  19
              69. Said custom, practice and policy included a failure to adequately
  20
  21   investigate, supervise and discipline offending officers which fostered the custom,
  22
       practice and policy within the OPD which resulted in the above-pled injuries to
  23
  24   Plaintiff.

  25          70. Therefore, these Defendants, with deliberate indifference, disregarded a
  26
       duty to protect the public from official misconduct.
  27
  28          71. The failure to promulgate or maintain constitutionally adequate policies
                                                 21
                           PLAINTIFF’S COMPLAINT FOR DAMAGES AND
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   1   regarding training, investigation, supervision and discipline was done with
   2
       deliberate indifference to the rights of Plaintiff and others in his position.
   3
   4         72. The conduct alleged herein violated Plaintiff’s rights alleged above
   5
       which has legally, proximately foreseeably and actually caused Plaintiff to suffer
   6
   7   physical injury, emotional distress, pain and suffering and further general and

   8   special damages according to proof at the time of trial.
   9
                                   Third Claim for Relief
  10
                        Deprivation of Civil Rights – 42 U.S.C. § 1983
  11                               (Supervisory Liability)
  12
                     Against Defendant Smith and Does 1 to 10, inclusive.

  13         73. Plaintiff realleges and incorporates by reference paragraphs 1-72 of this
  14
       complaint as though fully set forth herein.
  15
  16         74. Smith and Does 1 to 10, inclusive, while acting under color of law,
  17
       exercised supervisory and disciplinary authority over the police department
  18
  19   officers, including Caston, Schmelter, Gonzales and Does 1 to 10. Smith and
  20   Does 1 to 10, inclusive, knew or should have known of Caston, Schmelter,
  21
       Gonzales and Does 1 to 10’s misconduct in using excessive force against Plaintiff
  22
  23   because Smith and Does 1 to 10 were present at the scene and witnessed Koa
  24
       attacking Plaintiff; witnessed the handcuffing and hobble restraint applied to
  25
  26   Plaintiff while he lay injured on the ground from being deliberately knocked off
  27   his motorcycle by a police vehicle; and knew or should have known based on
  28
                                                  22
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   1   Plaintiff repeatedly telling officers at the scene that Plaintiff was hit by the police
   2
       vehicle and did not merely “fall” off his motorcycle.
   3
   4         75. Smith and Does 1 to 10 had a duty to investigate Plaintiff’s statements
   5
       that he was struck with the police vehicle; had a duty to investigate and secure
   6
   7   evidence in that regard; had a duty to supervise officers while they applied force

   8   to ensure that officers’ use of force was reasonable under the circumstances; and
   9
       had a duty to discipline the involved officers for their use of excessive force.
  10
  11         76. Smith and Does 1 to 10 failed to investigate the ramming of Plaintiff’s
  12
       motorcycle by a police vehicle; failed to discipline the involved officers for their
  13
  14   use of excessive force against Plaintiff; and failed to train or re-train Defendant
  15   officers in their use of force techniques including, vehicle pursuits, restraints and
  16
       K-9 deployment.
  17
  18         77. Based on the foregoing, Smith and Does 1 to 10’s acts/omissions
  19
       ratified, approved and encouraged Caston, Schmelter, Gonazales and Does 1 to 10
  20
  21   and others to continue to violate the Constitutional rights of citizens.
  22
             78. In failing to carry out appropriate supervision over his subordinates, and
  23
  24   by acquiescing in Caston, Schmelter, Gonazales and Does 1 to 10’s wrongful

  25   conduct against Plaintiff, Smith and Does 1-10 were aware that the constitutional
  26
       rights of Plaintiff were being violated. Smith and Does 1 to 10’s failure to
  27
  28   supervise was the moving force behind the misconduct of Defendants Caston,
                                                  23
                        PLAINTIFF’S COMPLAINT FOR DAMAGES AND
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   1   Schmelter, Gonazales and Does 1 to 10’s actions in violating Plaintiff’s Fourth
   2
       Amendment and Fourteenth Amendment rights under the U.S. Constitution.
   3
   4          79. In doing the foregoing acts/omissions, Smith and Does 1 to 10 acted
   5
       with deliberate indifference to, and in reckless disregard of, Plaintiff’s
   6
   7   constitutional rights and Plaintiff sustained injury and damage as alleged herein in

   8   an amount to be proven at trial.
   9
              80. The conduct alleged herein also amounts to oppression, fraud or malice
  10
  11   within the meaning of Civil Code Section 3294 and was performed knowingly,
  12
       intentionally, maliciously, amounting to despicable conduct by reason of which
  13
  14   Plaintiff is entitled to an award of exemplary damages against these defendants in
  15   an amount according to proof at the time of trial in order to deter the defendants
  16
       from engaging in similar conduct and to make an example by way of monetary
  17
  18   punishment. Plaintiff is entitled to attorney fees and costs of suit herein pursuant
  19
       to statute
  20
  21                                           PRAYER
  22
       WHEREFORE, Plaintiff prays judgment against Defendants as follows:
  23
  24                a. General damages, including emotional distress, according to proof at

  25                   the time of trial;
  26                b. Special damages according to proof at the time of trial;
  27                c. Any further declaratory relief as this Court deems just;
  28                d. Prejudgment interest;
                                                   24
                          PLAINTIFF’S COMPLAINT FOR DAMAGES AND
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   1            e. Costs of suit incurred herein; and
   2            f. Attorneys’ fees;
   3            g. Exemplary damages.
   4
                               DEMAND FOR JURY TRIAL
   5
            Plaintiff respectfully demands that the present matter be set for a jury trial.
   6
   7   Dated: April 6, 2020            \s\_________________________
   8                                   Lewis Khashan, Esq.
                                       Attorney for Plaintiff John Curtis Newman, III
   9
  10   Dated: April 6, 2020            \s\_________________________
                                       Suzanne Skolnick, Esq.
  11
                                       Attorney for Plaintiff John Curtis Newman, III
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